Case:16-05295-EAG7 Doc#:84 Filed:07/12/18 Entered:07/12/18 22:48:22     Desc: Main
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                      UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF PUERTO RICO


 IN RE:
                                                  CASE NO. 16-05295 EAG
 IRMA ADELINA RODRÍGUEZ COSSÍO
                                                        CHAPTER 7
             DEBTOR(S)


                      NOTICE OF POSTAL ADDRESS CHANGE


       Notice   is   hereby   given   to   all   creditors   and    parties   in

 interest    that    there    has   been   a   change   in   Debtor’s    postal

 address.    The new address is the following:

                             Irma Rodríguez Cossío
                                c/o Clara Nazario
                                  P. O. Box 1915
                               Mayagüez, PR 00680

       In San Juan, Puerto Rico, this 12 th day of July 2018.


                                           HERMAN F. VALENTÍN & ASSOCIATES
                                                          P.O. Box 9023394
                                                   San Juan, PR 00902-3394
                                                       Tel. (787) 200-5426

                                       By: /s/Herman F. Valentín Figueroa
                                              Herman F. Valentín Figueroa
                                                         USDC-PR # 201904
